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                      EXHIBIT 2 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
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                      EXHIBIT 3 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
     Motion For Summary Judgment

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                      EXHIBIT 5 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
     Motion For Summary Judgment

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                      EXHIBIT 6 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
     Motion For Summary Judgment

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                      EXHIBIT 7 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
     Motion For Summary Judgment

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                      EXHIBIT 8 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
     Motion For Summary Judgment

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                      EXHIBIT 9 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
     Motion For Summary Judgment

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                     EXHIBIT 10 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
     Motion For Summary Judgment

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                     EXHIBIT 12 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
     Motion For Summary Judgment

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                      EXHIBIT 13 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
     Motion For Summary Judgment

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                      EXHIBIT 14 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
     Motion For Summary Judgment

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                      EXHIBIT 15 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
     Motion For Summary Judgment

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                      EXHIBIT 16 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
     Motion For Summary Judgment

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                      EXHIBIT 17 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
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                      EXHIBIT 18 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
     Motion For Summary Judgment

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                      EXHIBIT 19 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
     Motion For Summary Judgment

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                      EXHIBIT 20 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
     Motion For Summary Judgment

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                      EXHIBIT 21 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
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                      EXHIBIT 22 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
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                      EXHIBIT 24 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
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                        Exhibit 27 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
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                        Exhibit 28 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
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                        Exhibit 29 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
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                        Exhibit 30 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
        Defendant KST Data, Inc.’s
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                        Exhibit 31 To:

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      In Support of Plaintiff/Counter-
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                        Exhibit 32 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
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                        Exhibit 34 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
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                        Exhibit 35 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
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                        Exhibit 36 To:

     Declaration of Ashley D. Bowman
      In Support of Plaintiff/Counter-
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